            Case 8:19-bk-06681-CPM          Doc 10     Filed 08/23/19     Page 1 of 32



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 IN RE:                                                             CASE NO.: 8:19-bk-06681-CPM
                                                                                     CHAPTER 7
 Gladys Llano,
          Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty-one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida
           Avenue, Suite 555, Tampa, Florida 33602 and serve a copy on the movant’s
           attorney, Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL,
           6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate
           persons within the time allowed. If you file and serve a response within the time
           permitted, the Court will either schedule and notify you of a hearing, or consider the
           response and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Gladys Llano, filed a voluntary petition pursuant to Chapter 7 of the United

       States Bankruptcy Code on July 17, 2019.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

                                                                                     8:19-bk-06681-CPM
                                                                                               19-366847
                                                                                                    MFR
                                                                                                  Page #1
       Case 8:19-bk-06681-CPM          Doc 10     Filed 08/23/19     Page 2 of 32



   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On March 19, 2007, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $261,000.00 to

   Mortgageit, Inc. The Mortgage was recorded on March 30, 2007 in Instrument No.

   2007153658 in Book 17617 at Page 1661 of the Public Records of Hillsborough County,

   Florida. The loan was transferred to Secured Creditor. True and accurate copies of

   documents establishing a perfected security interest and ability to enforce the terms of the

   Note are attached hereto as Composite Exhibit “A.” The documents include copies of the

   Note with any required indorsements, Recorded Mortgage, Assignment(s) of Mortgage,

   and any other applicable documentation supporting the right to seek a lift of the automatic

   stay and foreclose, if necessary.

5. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,

   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

6. The mortgage provides Secured Creditor a lien on the real property located at 13408

   Sunvale Place, Tampa, Florida 33626, in Hillsborough County, and legally described as

   stated in the mortgage attached in Composite Exhibit “A.”

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in


                                                                                 8:19-bk-06681-CPM
                                                                                           19-366847
                                                                                                MFR
                                                                                              Page #2
       Case 8:19-bk-06681-CPM           Doc 10     Filed 08/23/19     Page 3 of 32



   default, since June 1, 2019, for a total pre-petition arrears of $2,718.54 and post-petition

   default of $1,359.27. As of August 15, 2019, the total payoff on the loan was

   approximately $349,245.72

8. The appraised value of the property is $197,356.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

9. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

10. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.


                                                                                 8:19-bk-06681-CPM
                                                                                           19-366847
                                                                                                MFR
                                                                                              Page #3
           Case 8:19-bk-06681-CPM          Doc 10     Filed 08/23/19      Page 4 of 32



   13. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

       or protect the collateral; therefore, Secured Creditor requests that the Court waive the

       14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   15. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: Auguat 23, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Nathalie Rodriguez_______________
                                             Nathalie Rodriguez, Esquire
                                             Florida Bar Number: 125114
                                             Email: nrodriguez@rasflaw.com

                                                                                   8:19-bk-06681-CPM
                                                                                             19-366847
                                                                                                  MFR
                                                                                                Page #4
          Case 8:19-bk-06681-CPM         Doc 10    Filed 08/23/19    Page 5 of 32




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Gladys Llano
12392 Chaya Ct.
Spring Hill, FL 34610

Alan D Borden
Debt Relief Legal Group, LLC
901 W. Hillsborough Avenue
Tampa, FL 33603

Larry S. Hyman
PO Box 18625
Tampa, FL 33679

United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969
                                           By: /s/ Nathalie Rodriguez_______________
                                           Nathalie Rodriguez, Esquire
                                           Florida Bar Number: 125114
                                           Email: nrodriguez@rasflaw.com




                                                                                8:19-bk-06681-CPM
                                                                                          19-366847
                                                                                               MFR
                                                                                             Page #5
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 6 of 32




        COMPOSITE EXHIBIT “A”
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 7 of 32
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 8 of 32
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 9 of 32
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 10 of 32
0123467869   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 11 of 32
012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 12 of 32
012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 13 of 32
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012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 15 of 32
0123467896   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 16 of 32
012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 17 of 32
012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 18 of 32
012346789   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 19 of 32
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01234667869   Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 21 of 32
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Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 27 of 32
Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 28 of 32




                   EXHIBIT “B”
                   Case 8:19-bk-06681-CPM             Doc 10         Filed 08/23/19         Page 29 of 32

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Case 8:19-bk-06681-CPM   Doc 10   Filed 08/23/19   Page 30 of 32




                   EXHIBIT “C”
          Case 8:19-bk-06681-CPM         Doc 10     Filed 08/23/19    Page 31 of 32




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                        CASE NO.: 8:19-bk-06681-CPM
                                                                                CHAPTER 7
 Gladys Llano,
       Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a
Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ___).                 No
appropriate response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 13408 Sunvale Place, Tampa, Florida 33626
       in Hillsborough County, Florida, and legally described as:

                                               1
          Case 8:19-bk-06681-CPM          Doc 10    Filed 08/23/19     Page 32 of 32



       LOT 4, BLOCK 4, FAWN RIDGE VILLAGE “I” UNIT 3, ACCORDING
       TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 7, PAGE 53,
       OF THE PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                              ###
Attorney, Nathalie Rodriguez, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.




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